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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division

DAWUD J. BEST, et al.,
                                                    *
        Plaintiffs,
                                                    *
v.                                                              Case No.: PWG-15-1141
                                                    *
CREDIT CONTROL
 SERVICES, INC., et al.,                            *

        Defendant.                                  *
*       *     *         *       *       *       *       *       *       *       *       *       *

                            MEMORANDUM OPINION AND ORDER

        Defendants Verizon Maryland LLC (“Verizon”) and Credit Control Services, Inc.

(“CCS”) “report[ed] collection accounts” to Defendant Experian Information Solutions, Inc.

(“Experian”) and two other consumer reporting agencies (“CRAs”), listing debts in Plaintiff

Dawud J. Best’s name.1 Second Am. Compl. ¶¶ 13–15, 18, ECF No. 67. Believing that these

reports were false and/or inaccurate, that the CRAs handled them improperly, and that other

companies improperly obtained them, Best, who nominally is proceeding without counsel

(although his filings appear to have been drafted by someone with legal training), filed suit in the

Circuit Court for Prince George’s County against thirteen defendants, alleging violations of the

Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et seq., and the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. §§ 1692 et seq. Compl., ECF No. 2. The case was removed

to this Court, ECF No. 1, and CCS notified the Court of its intent to move to dismiss for failure

to state a claim, asserting that “Plaintiff fails to establish that the alleged collection activity arose

1
  For purposes of considering Defendant’s motions to dismiss, I accept as true any well pleaded
facts that Plaintiff alleged in the Second Amended Complaint. See Aziz v. Alcolac, 658 F.3d 388,
390 (4th Cir. 2011).
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from a consumer debt.” ECF No. 12. I afforded Best the opportunity to amend to cure the

deficiencies CCS identified and cautioned that, if I dismissed the case after he had the

opportunity to amend, any dismissal would be with prejudice. ECF No. 27.

       Best filed an Amended Complaint, ECF No. 58, and then amended again to substitute

Defendant Verizon Maryland LLC for Defendant Verizon Communications, Inc., ECF No. 67.

He has settled and/or voluntarily dismissed his claims as to ten of the originally named

defendants. ECF Nos. 27, 29, 42, 43, 68, 107, 115. Defendants CCS, Verizon, Experian, and

Equifax Information Solutions, LLC (“Equifax”) remain.

       The Second Amended Complaint, ECF No. 67, is the operative complaint. It includes

FCRA claims against Equifax, Experian, and Verizon (Count One);2 an FDCPA claim against

CCS (Count Two); and a claim against CCS under the Maryland Consumer Debt Collection Act

(“MCDCA”), Md. Code Ann., Com. Law §§ 14-201 et seq. (Count Three). Equifax has filed an

answer. ECF No. 76. CCS, Experian, and Verizon have moved to dismiss.3 ECF Nos. 71, 88,

89. The parties fully briefed CCS’s motion, ECF Nos. 71-1, 82, 86, and Verizon’s motion, 89-1,

94, 94-1, 98, 98-1. Best did not oppose Experian’s motion, and the time for doing so has passed.

See Loc. R. 105.2(a).




2
  In what appears to be an abundance of caution, CCS argues that “Best fails to allege any
conduct by CSS that violates the FCRA.” CCS Mem. 4. This is true, and Best concedes that he
does not bring Count I against CCS. Pl.’s Opp’n to CCS Mot. 2.
3
  Verizon styles its motion as a “Motion to Dismiss and/or for Summary Judgment and/or
Motion to Compel Arbitration, or, in the Alternative, Motion to Dismiss and/or for Summary
Judgment Based on Improper Venue.” I will treat it as a motion to dismiss.


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        Additionally, after the remaining Defendants responded to Plaintiff’s Second Amended

Complaint, Best moved to file a Third Amended Complaint, ECF No. 111.4 The proposed Third

Amended Complaint includes new factual allegations but the same three causes of action as to

the remaining defendants. ECF No. 111-1; see ECF No. 111-2 (redline). Defendants jointly

opposed the motion, ECF No. 112, and Best filed a reply, ECF No. 113. A hearing is not

necessary with regard to any of the pending motions. See Loc. R. 105.6.

        Because Best fails to state a claim against CCS, Verizon, or Experian, I will grant their

motions, dismiss Count I as to Experian and Verizon, and dismiss Counts II and III in their

entirety.   And, because the proposed Third Amended Complaint does not cure any of the

pleading deficiencies, such that amendment would be futile, and because it contains allegations

that Best could have made, had he been diligent, months earlier in his Amended Complaint or his

Second Amended Complaint, I will deny Best’s Amended Motion for Leave to File a Third

Amended Complaint and dismiss the claims against CCS, Verizon, and Experian with prejudice.

                                      Standard of Review

        Federal Rule of Civil Procedure 12(b)(6) provides for “the dismissal of a complaint if it

fails to state a claim upon which relief can be granted.” Velencia v. Drezhlo, No. RDB-12-237,

2012 WL 6562764, at *4 (D. Md. Dec. 13, 2012). This Rule’s purpose “is to test the sufficiency

of a complaint and not to resolve contests surrounding the facts, the merits of a claim, or the

applicability of defenses.” Id. (quoting Presley v. City of Charlottesville, 464 F.3d 480, 483 (4th

Cir. 2006)). To that end, the Court bears in mind the requirements of Rule 8, Bell Atlantic Corp.


4
  Plaintiff’s original Motion for Leave to File Third Amended Complaint, ECF No. 110, to which
he only attached the proposed Third Amended Complaint in redline, IS DENIED AS MOOT, in
light of the Amended Motion for Leave to File Third Amended Complaint, ECF No. 111, which
he filed.


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v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009) when considering a

motion to dismiss pursuant to Rule 12(b)(6). Specifically, a complaint must contain “a short and

plain statement of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2),

and must state “a plausible claim for relief,” as “[t]hreadbare recitals of the elements of a cause

of action, supported by mere conclusory statements, do not suffice,” Iqbal, 556 U.S. at 678–79.

See Velencia, 2012 WL 6562764, at *4 (discussing standard from Iqbal and Twombly). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

678.

       Plaintiff proceeds without counsel, and therefore I will construe his Second Amended

Complaint liberally. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Nonetheless, he still must

provide the factual support that the Federal Rules of Civil Procedure require. See Holsey v.

Collins, 90 F.R.D. 122, 128 (D. Md. 1981) (citing Inmates v. Owens, 561 F.2d 560, 562–63 (4th

Cir. 1977)).

       It is neither unfair nor unreasonable to require a pleader to put his complaint in an
       intelligible, coherent, and manageable form, and his failure to do so may warrant
       dismissal. Corcoran v. Yorty, 347 F.2d 222, 223 (9th Cir.), cert. denied, 382 U.S.
       966 (1965); Holsey v. Collins, 90 F.R.D. 122, 128 (D. Md. 1981). District courts
       are not required to be mind readers, or to conjure questions not squarely presented
       to them. Beaudett v. City of Hampton, 775 F.2d 1274, 1278 (4th Cir. 1985), cert.
       denied, 475 U.S. 1088 (1986).

Harris v. Angliker, 955 F.2d 41, 1992 WL 21375, at *1 (4th Cir. Feb. 10, 1992).

                                       Factual Background

       Upon obtaining his credit reports, Best learned that “Verizon and CCS were reporting

collection accounts.” Second Am. Compl. ¶ 14. With regard to the CCS account, Best claims

that it was not based on “a debt that Plaintiff had any obligation to pay,” but rather was an


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attempt to “extort[] money from the Plaintiff.” Id. ¶ 15. He notified the CRAs that he disputed

the account, and “[t]he CCS collection account was deleted following Plaintiff’s dispute.” Id.

¶ 16. As for the Verizon account, Best notified the CRAs that he disputed Verizon account

number 979200****, and “[u]pon information and belief,” they in turn notified Verizon of the

dispute “for an investigation of the account,” because the CRAs then responded to him, asserting

that 979200**** was “being reported accurately.” Id. ¶¶ 18–20. He then reached out to Verizon

directly and received a letter from Verizon, “dated December 30, 2014 in which it stated it ‘d[id]

not show that the account in question was ever reported by Verizon to the consumer reporting

agencies.’” Id. ¶¶ 21–23.

       Best also learned that other companies, formerly defendants in this case, “had obtained

his credit reports.”    Id. ¶ 14.    Specifically, Experian disclosed his credit information to

Receivables Performance Management, LLC and I.C. System, Inc. when they were “not

collecting on a debt of the Plaintiff and therefore . . . did not have a permissible purpose to obtain

Plaintiff’s credit report.” Id. ¶¶ 26, 27. Experian likewise disclosed his report to Granite Bay

Acceptance, Inc., Credit One Financial, MDA Capital, Inc., and E Mortgage Management even

though none of these defendants had extended a firm offer of credit to him, such that they “did

not have a permissible purpose to access Plaintiff’s credit report.” Id. ¶¶ 28–30. These actions

form the basis for Defendants’ alleged FCRA, FDCPA, and MCDCA violations.

                                     FCRA Claims (Count I)

       “In enacting [the] FCRA Congress adopted a variety of measures designed to insure that

agencies report accurate information.” Dalton v. Capital Associated Indus., Inc., 257 F.3d 409,

414-15 (4th Cir. 2001). Pursuant to §§ 1681n and 1681o, individuals may file suit against

consumer reporting agencies for FCRA violations. Id. at 415. “In addition to the duties it


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imposes on CRAs, FCRA also imposes duties on ‘furnishers of information,’” such as Verizon.

Saunders v. Branch Banking & Trust Co. of VA, 526 F.3d 142, 147–48 (4th Cir. 2008) (citing 15

U.S.C. § 1681s-2).     In relation to Verizon’s and CCS’s alleged reporting to Experian of

collection accounts in Best’s name and Experian’s handling of those reports, Best claims that

Experian violated 15 U.S.C. §§ 1681i(a)(1), (5)(A), 1681e(a), and 1681e(b)(1), and that Verizon

violated § 1681s-2(b)(1)(D) & (E).

                                     Claims against Experian

       Best claims that Experian “violated 15 U.S.C. § 1681i(a)(1), (5)(A) by failing to conduct

a reasonable investigation [and] failing to promptly delete the disputed accounts after receiving

Plaintiff’s dispute.” Second Am. Compl. ¶ 34. He also claims that Experian “violated its

obligations under 15 U.S.C. § 1681e(b)(1) to follow reasonable procedures to assure maximum

accuracy by relying on unreliable, discredited sources of information, such as CCS.” Id. ¶ 35.

Section 1681i(a)(1) provides that, if a consumer disputes “the completeness or accuracy of any

item of information” on file at a CRA, the CRA shall “conduct a reasonable reinvestigation to

determine whether the disputed information is inaccurate.” Section 1681i(a)(5)(A) provides that,

if, on reinvestigation, a CRA finds an item to be inaccurate, incomplete, or unverifiable, it shall

promptly delete that item of information from the file of the consumer, or modify that item of

information, as appropriate,” and “promptly notify the furnisher of that information that the

information has been modified or deleted from the file of the consumer.” “[A] consumer

reporting agency violates § 1681e(b) if (1) the consumer report contains inaccurate information

and (2) the reporting agency did not follow reasonable procedures to assure maximum possible

accuracy.” Dalton, 257 F.3d at 415. “[T]o state a claim for failure to comply with § 1681e(b),

Plaintiff must allege that a consumer report contained inaccurate information. The same is true



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of § 1681i(a).” Brown v. Experian Credit Reporting, No. 2012 WL 6615005, at *3 (D. Md. Dec.

17, 2002) (emphasis added) (citations omitted); see Alston v. Trans Union, LLC, No. TDC-14-

1180, 2014 WL 6388338, at *6–7 (D. Md. Nov. 13, 2014) (“[I]naccurate information [is] an

essential element of a claim under sections 1681e and 1681i.”).

       Experian argues that Best does not state a claim under either § 1681i(a) or § 1681e(b)

because, for both claims, Best fails to allege that “a CRA prepared a consumer report that

contained inaccurate information about the plaintiff.” Experian Mot. 4–5, 7–8. Additionally, in

Experian’s view, Best has not alleged adequately that its procedures were not reasonable. Id. at

9. By failing to file a response within the time allotted, Plaintiff implicitly acknowledges that

Experian’s Motion to Dismiss is meritorious. Moreover, a review of Best’s allegations and the

relevant case law shows that he fails to state a claim under § 1681e(b) or §1681i(a).

       1. Verizon Account

       As noted, accepting Best’s factual allegations as true, he notified the CRAs that he

disputed the Verizon account number 979200****, and “[u]pon information and belief,” they in

turn notified Verizon of the dispute “for an investigation of the account,” because the CRAs then

responded to him, asserting that 979200**** was “being reported accurately.” Second Am.

Compl. ¶¶ 18–20. He then reached out to Verizon directly and received a letter from Verizon,

“dated December 30, 2014 in which it stated it ‘d[id] not show that the account in question was

ever reported by Verizon to the consumer reporting agencies.’” Second Am. Compl. ¶¶ 21–23.

Based on that letter, Plaintiff alleges that the debt reported on Verizon account number

979200**** was “nonexistent.” Id. ¶¶ 22–23. Certainly, a report of a “nonexistent” debt is

inaccurate, and this seemingly threadbare allegation arguably could be sufficient to “‘“give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.”’” Hinton v.


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Trans Union, LLC, 654 F. Supp. 2d 440, 450–51 (E.D. Va. 2009), aff’d, 382 F. App’x 256 (4th

Cir. 2010) (quoting Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Twombly, 550 U.S. at

555)).

         Yet, the December 2014 letter Best references refers to account number 94792****, not

979200****.5 Experian Mot. Ex. 1, ECF No. 88-1. Given that Best relies solely on the letter to

assert that the debt did not exist, Best has not alleged adequately that account number

979200**** did not have any debt associated with it, or that the report on that account was

otherwise inaccurate. See Betts v. Montgomery Coll., No. 12-3802-AW, 2013 WL 4478192, at

*8 (D. Md. Aug. 16, 2013) (“When the bare allegations of the complaint conflict with any

exhibits or other documents, whether attached or adopted by reference, the exhibits or documents

prevail.”) (quoting Fare Deals Ltd. v. World Choice Travel.com, Inc., 180 F. Supp. 2d 678, 683

(D. Md. 2001) (citing Fayetteville Investors v. Commercial Builders, Inc., 936 F.2d 1462, 1465

(4th Cir. 1991)); Hosack v. Utopian Wireless Corp., No. DKC 11-0420, 2011 WL 1743297, at *5

(D. Md. May 6, 2011) (“[A] complaint’s unsupported allegation may be overcome on a motion

to dismiss by relevant exhibits.”); see also Brown, 2012 WL 6615005, at *3 (concluding that an

allegation that a defendant “‘persistently reported derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to third parties,’” accompanied by


5
 While generally the law is clear that a federal district court may not consider extrinsic evidence
outside of the pleadings when ruling on a defendant’s motion to dismiss pursuant to Fed. R. Civ.
P. 12(b)(6), when “‘a defendant attaches a document to its motion to dismiss, a court may
consider it in determining whether to dismiss the complaint [if] it was integral to and explicitly
relied on in the complaint and [if] the plaintiffs do not challenge its authenticity.’” Chesapeake
Bay Found., Inc. v. Severstal Sparrows Point, LLC, 794 F. Supp. 2d 602, 611 (D. Md. 2011)
(quoting Am. Chiropractic Ass’n, Inc. v. Trigon Healthcare Inc., 367 F.3d 212, 234 (4th Cir.
2004) (internal quotation marks omitted)). Best relies on this letter in his Second Amended
Complaint, by quoting it in Paragraph 22. Additionally, given that he does not oppose
Experian’s motion, he does not challenge the letter’s authenticity. Therefore, I may consider it.
See id.

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an identification of the relevant accounts, was insufficient to state a claim without “facts to

support this allegation, including the content of the false allegations”). Thus, because the

December 2014 letter does not support Best’s allegations of its contents and Best does not allege

any other inaccuracy, Best fails to state a claim under § 1681e(b) or § 1681i(a) against Experian

in regard to the Verizon account number 979200****.

       2. CCS Account

       Best also alleges that “[t]he CCS collection account was completely unfounded,” as

“CCS was not attempting to collect a debt that Plaintiff had any obligation to pay.” Second Am.

Compl. ¶ 15. Experian asserts that the “conclusory statement[]” with regard to the CCS account

does not suffice to state a claim, because it does not “identif[y] the specific information that

Plaintiff contends should not have been reported, when it was reported and to whom, does not

provide when Plaintiff notified Experian of the dispute, and the reasons Plaintiff gave Experian

for disputing the CCS Account.” Experian Mot. 8. Even if I were to find that this allegation that

the entire debt is inaccurate and should not have been reported (because Best had no debt to

CCS), see Second Am. Compl. ¶ 15, has sufficient specificity, Best’s §§ 1681i(a) and 1681e(b)

claims with regard to the CCS account fail nonetheless.

       Notably, contradicting his allegation that Experian failed to conduct a reasonable

investigation and delete the disputed item, Second Am. Compl. ¶ 34, Best alleges that he

“forwarded a dispute of the CCS collection account to the CRAs,” and “[t]he CCS collection

account was deleted following Plaintiff’s dispute,” id. ¶ 16. Thus, even accepting Best’s well-

pleaded allegations as true, CCS conducted a reasonable reinvestigation, resulting in the removal

of the disputed information from Best’s file, in accordance with § 1681i(a)(1),(5)(A). Moreover,

“when a complaint contains inconsistent and self-contradictory statements [such as these], it fails


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to state a claim.” Hosack, 2011 WL 1743297, at *5. Consequently, Best fails to state a claim for

a violation of § 1681i(a) with regard to the CCS account. See id.

       As for § 1681e(b), a CRA violates this section “if (1) the consumer report contains

inaccurate information and (2) the reporting agency did not follow reasonable procedures to

assure maximum possible accuracy.” Dalton, 257 F.3d at 415. Best claims that Experian’s

reliance on CCS in compiling its report made its procedures unreasonable because “CCS has 504

complaints lodged against it with the BBB, including 440 related to billing and collection

issues.” Second Am. Compl. ¶ 17. But, as Experian observes, Best “does not state when and by

whom the complaints were lodged [or] how they were resolved.” Experian Mot. 9 n.9. Further,

as Experian also notes, “Plaintiff does not allege how those disputes relate to his unspecified

dispute with CCS, and does not allege facts that Experian was aware or should have been aware

of those disputes.” Id. Without such allegations, Best has not pleaded sufficient “factual content

[to] allow[] the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” See Iqbal, 556 U.S. at 678.

       3. Disclosures of Credit Information

       Best also claims that Experian “violated its obligations under 15 U.S.C. § 1681e(a) to

establish or follow reasonable procedures to avoid the disclosure of credit information for

impermissible purposes.” Second Am. Compl. ¶ 36.             As noted, Best claims that Experian

disclosed his credit information to two former defendants for an impermissible purpose because

these defendants obtained his credit report when they were “not collecting on a debt of the

Plaintiff and therefore . . . did not have a permissible purpose to obtain Plaintiff’s credit report.”

Second Am. Compl. ¶¶ 26, 27. He also alleges that Experian likewise disclosed his report for an

impermissible purpose to four other former defendants because none of these defendants had


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extended a firm offer of credit to him, such that they “did not have a permissible purpose to

access Plaintiff’s credit report.” Id. ¶¶ 28–30.

       Section 1681e(a) “requires consumer reporting agencies to ‘maintain reasonable

procedures . . . to limit the furnishing of consumer reports to the purposes listed under section

1681b.’” Hinton, 654 F. Supp. 2d at 450. To state a claim, “[a] plaintiff ‘must first show that the

reporting agency released [a] report in violation of § 1681b.’” Id. (quoting Washington v. CSC

Credit Servs. Inc., 199 F.3d 263, 267 (5th Cir. 2000), quoted in Harris v. Database Mgmt. &

Mktg., Inc., 609 F. Supp. 2d 509, 517 (D. Md. 2009)). Pursuant to § 1681b, CRAs “may not

furnish a consumer’s credit report to third parties except in the circumstances listed in § 1681b”;

thus an allegation that a CRA disclosed reports for “impermissible purposes” is an allegation that

the CRA disclosed them for “purposes not listed in § 1681b.” Id. Notably, “‘[i]f the consumer

reporting agency has reason to believe that the user had a permissible purpose in obtaining the

report, there is no FCRA violation.’” Harris v. Database Mgmt. & Mktg., Inc., 609 F. Supp. 2d

509, 515 (D. Md. 2009) (citation omitted); see 15 U.S.C. § 1681b(a)(3)(A) (“[A]ny consumer

reporting agency may furnish a consumer report . . . [t]o a person which it has reason to believe

. . . intends to use the information in connection with a credit transaction involving the consumer

on whom the information is to be furnished and involving the extension of credit to, or review or

collection of an account of, the consumer.” (emphasis added)).

       Experian argues that Best “fails to make the threshold factual allegation[] that . . .

Experian did not have reason to believe that [these former defendants] had a permissible purpose

for obtaining h[is] report.” Experian Mot. 13–14. Indeed, Best does not allege a reason for

Experian not to believe that each former defendant had a permissible purpose in obtaining his

report. Moreover, as noted, Best implicitly concedes this point by failing to oppose Experian’s



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motion. Consequently, Best fails to allege sufficiently that Experian violated § 1681b, and

therefore he also fails state a claim for a violation of § 1681e(a). See Hinton, 654 F. Supp. 2d at

450; Harris, 609 F. Supp. 2d at 515.

                                       Claim against Verizon

       As noted, Best alleges that he queried Verizon about account number 979200**** and

received a letter from Verizon telling him it never reported “the account in question” to the

CRAs. Second Am. Compl. ¶¶ 21–22. Based on that assurance from Verizon and the CRAs’

assertion that 979200**** was “being reported accurately,” id. ¶¶ 18–20, Best claims that

“[e]ither Verizon did not investigate the dispute at all or it intentionally reported incorrect

information,” and “if Verizon had conducted a reasonable investigation it would have concluded

the account needed to be removed from Plaintiff’s credit report.” Id. ¶ 39. According to Best,

“Verizon had a duty under the FCRA at § 1681s-2(b)(1)(D) & (E) to delete or modify the

accounts after it concluded a reasonable investigation of Plaintiff’s dispute.”6 Id. ¶ 40.

       Pursuant to § 1681s-2(b)(1), a furnisher of information, such as Verizon, that receives

notice from a CRA that a consumer disputes the accuracy of information in his or her account

must investigate and,

       (D) if the investigation finds that the information is incomplete or inaccurate,
       report those results to all other consumer reporting agencies to which the person
       furnished the information and that compile and maintain files on consumers on a
       nationwide basis; and
       (E) if an item of information disputed by a consumer is found to be inaccurate or
       incomplete or cannot be verified after any reinvestigation . . . , for purposes of
       reporting to a consumer reporting agency only, as appropriate, based on the
       results of the reinvestigation promptly--

6
 Verizon reads Best’s Second Amended Complaint to “clearly allege[] violations of … § 1681s-
2(a)[].” Verizon Mem. 6. But, Best does not cite § 1681s-2(a) in his pleading. Nor does he
discuss this section in his Opposition to Verizon’s motion. See Pl.’s Opp’n 6. Therefore, Best’s
FCRA claim against Verizon rests solely on § 1681s-2(b).

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               (i) modify that item of information;
               (ii) delete that item of information; or
               (iii) permanently block the reporting of that item of information.

15 U.S.C. § 1681s-2(b)(1)(D)–(E); see Saunders, 526 F.3d at 148.

       Verizon contends that Best “has not made any specific factual allegations regarding

Verizon’s alleged failure to investigate a notice of dispute reported to it by the credit reporting

agencies for the account at issue.” Verizon Mem. 7. Like Experian, Verizon attaches its

December 2014 letter,7 Verizon Mem. Ex. 1, Jt. Ex. 1, ECF No. 98-2, contending that, because it

references a different account number, it does not support a claim that Verizon should have

modified or deleted account number 979200**** following its investigation. Verizon Mem. 7.

       Best responds generally that his “claims under FCRA are sufficient,” as “Paragraphs 18

thru 22 . . . list Mr. Best’s factual allegations” and “meet[] the requirements of Rule 8.” Pl.’s

Opp’n 6. Insofar as Best adequately alleges that the CRAs notified Verizon of the dispute

“[u]pon information and belief,” inferred from the CRAs’ response to him, he also alleges that

Verizon promptly responded, given that the CRAs responded to him within a month of his

dispute letters. Id. ¶¶ 19–20. Thus, the question is whether Verizon should have modified or

deleted the account following the investigation.

       As discussed previously, because the December 2014 letter did not relate to account

number 979200****, it does not support Plaintiff’s assertions that Verizon was notified of a

dispute as to account number 979200****, investigated that account and learned that

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  While Best opposes Verizon’s motion, he does not challenge the authenticity of this letter,
which he relied on in his Second Amended Complaint. Rather, he acknowledges that it refers to
another account. See Pl.’s Opp’n to Verizon Mot. 1 n.1. Therefore, I may consider this letter
without treating Verizon’s motion as one for summary judgment. See Am. Chiropractic Ass’n,
Inc. v. Trigon Healthcare Inc., 367 F.3d 212, 234 (4th Cir. 2004); Chesapeake Bay Found., Inc.
v. Severstal Sparrows Point, LLC, 794 F. Supp. 2d 602, 611 (D. Md. 2011).

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information in it was inaccurate. Consequently, Best has no basis for his conclusory allegations

that Verizon should have modified or deleted the account based on its investigation and that

“[e]ither Verizon did not investigate the dispute at all or it intentionally reported incorrect

information.” Id. ¶¶ 39–40; see 15 U.S.C. § 1681s-2(b)(1)(E) (requiring modification “if an item

of information disputed by a customer is found to be inaccurate” (emphasis added)). These

conclusory assertions do not suffice to state a claim against Verizon for a violation of § 1681s-

2(b), as the Court has no grounds for inferring Verizon’s liability for the alleged conduct.8 See

Iqbal, 556 U.S. at 678–79.

                       FDCPA and MCDCA Claims (Counts II and III)

       The FDCPA provides that “[a] debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” 15 U.S.C.

§ 1692e.   Similarly, the MCDCA “‘prohibits debt collectors from utilizing threatening or

underhanded methods in collecting or attempting to collect a delinquent debt.’” Piotrowski v.

Wells Fargo Bank, N.A., No. DKC-11-3758, 2013 WL 247549, at *9 (D. Md. Jan. 22, 2013)

(quoting Bradshaw v. Hilco Receivables, LLC, 765 F. Supp. 2d 719, 731–32 (D. Md. 2011)

(citing Md. Code Ann., Com. Law § 14–202)). The Maryland statute provides that, “[i]n

collecting or attempting to collect an alleged debt a collector may not,” inter alia, “[d]isclose or

threaten to disclose information which affects the debtor’s reputation for credit worthiness with

knowledge that the information is false” or “[c]laim, attempt, or threaten to enforce a right with

knowledge that the right does not exist.” Com. Law. § 14-202(3), (8). Best claims that CCS

violated § 1692e of the FDCPA, and § 14-202 of the MCDCA by attempting to enforce a non-

existent right or, more specifically, “by attempting to collect a debt from Plaintiff that the
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  Because I will dismiss Best’s claim against Verizon on this ground, I need not reach the
alternative grounds Verizon proposes for dismissal.

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Plaintiff did not owe,” and “by falsely reporting an alleged debt” to the credit reporting agencies,

with the knowledge that the debt was false and/or that CCS did not have the right to report it.

Second Am. Compl. ¶¶ 44–45, 49–50.

       To state a claim under the FDCPA, Plaintiff must allege that “(1) [he] has been the object

of collection activity arising from consumer debt, (2) the defendant is a debt [ ] collector as

defined by the FDCPA, and (3) the defendant has engaged in an act or omission prohibited by

the FDCPA.” Stewart v. Bierman, 859 F. Supp. 2d 754, 759–60 (D. Md. 2012) (emphasis

added); Sterling v. Ourisman Chevrolet of Bowie, Inc., 943 F. Supp. 2d 577, 585 (D. Md. 2013)

(same). The FDCPA defines “consumer” as “any natural person obligated or allegedly obligated

to pay any debt.” 15 U.S.C. § 1692a(3).         It defines “debt” as “any obligation or alleged

obligation of a consumer to pay money arising out of a transaction in which the money, property,

insurance, or services which are the subject of the transaction are primarily for personal, family,

or household purposes, whether or not such obligation has been reduced to judgment.” 15 U.S.C.

§ 1692a(5).

       To state a claim under the MDCDA, Plaintiff must allege that a “collector” engaged in an

act that the MCDCA prohibits. See Bierman, 859 F. Supp. 2d at 769; Peete-Bey v. Educ. Credit

Mgmt. Corp., No. CCB-15-272, 2015 WL 5474262, at *6 (D. Md. Sept. 14, 2015); Jackson v.

Warning, No. PJM 15-1233, 2016 WL 520947, at *6 (D. Md. Feb. 5, 2016). The MDCDA

defines “collector” as “a person collecting or attempting to collect an alleged debt arising out of a

consumer transaction,” that is, “any transaction involving a person seeking or acquiring real or

personal property, services, money or credit for personal, family, or household purposes.” Com.

Law § 14-201(b), (c). This definition of consumer transaction is similar to the meaning of

consumer debt under the FDCPA. Puffinberger v. Commercion, LLC, No. SAG-13-1237, 2014



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WL 120596, at *9 (D. Md. Jan. 10, 2014). Thus, to state a claim under either statute, a plaintiff

must allege that the defendant attempted to collect on an alleged debt acquired “primarily for

‘personal, family, or household purposes.’” See Alston v. Cavalry Portfolio Servs., LLC, No. 12-

3589-AW, 2013 WL 665036, at *2 (D. Md. Feb. 22, 2013) (citing Bierman, 859 F. Supp. 2d. at

759–60; Boosahda v. Providence Dane LLC, 462 Fed. App’x 331, 335 (4th Cir. 2012))

(discussing FDCPA) (emphasis added).

       CCS contends that Best’s claims against it fail, because the Second Amended Complaint

“fails to establish . . . that he has been the object of collection activity arising from a consumer

debt,” or that the debt at issue “‘involv[ed] a person seeking or acquiring real or personal

property, services, money, or credit for personal, family, or household purposes.’” CCS Mem. 6–

7 (quoting Md. Code, Comm. Law, § 14-201(c)). Best counters:

       To the contrary, the Complaint clearly identifies Mr. Best as a “natural person”
       and that he is a “consumer”. Further, the collection account Mr. Best references in
       his Complaint was applied to his [personal] credit reports. Minimal inference is
       needed to deduce that Mr. Best’s Complaint, against CCS, involves claims
       relating to or arising from “consumer debts” as he is not a corporate entity.
Pl.’s Opp’n to CCS Mot. 3 (footnote omitted).

       It is not enough, as Best contends, for a plaintiff to be a consumer; the debt must also be

one acquired “primarily for ‘personal, family, or household purposes.’” See Alston, 2013 WL

665036, at *2; Puffinberger, 2014 WL 120596, at *9; 15 U.S.C. § 1692a(5); Com. Law § 14-

201(b), (c). Best has not alleged sufficiently that “the subject of the debt is primarily for

‘personal, family, or household purposes.’” Id. Indeed, he has not alleged the subject of the debt

at all. See Second Am. Compl. Therefore, he has not adequately alleged a consumer debt under

the FDCPA or a consumer transaction under the MCDCA, and consequently he fails to state a




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claim under either statute.9 See Alston, 2013 WL 665036, at *2; Bierman, 859 F. Supp. 2d. at

759–60; Boosahda, 462 Fed. App’x at 335.

                                           Amendment

         Best requests leave to amend if his allegations against CCS are insufficient. Pl.’s Opp’n

to CCS Mot. 3. He also seeks leave to file a Third Amended Complaint to add “new factual

developments,” such as “the failure to Experian and Equifax to timely modify or delete a

disputed Midland[] collection account and “new evidence relating to the Verizon collection

account,” and to “clarif[y] claims made under the FDCPA and FCRA.” Pl.’s Mot. to Am. 1.

         Whether to grant a motion for leave to amend is within this Court’s discretion. Foman v.

Davis, 371 U.S. 178, 182 (1962). Pursuant to Rule 15,10 “[t]he court should freely give leave [to

amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). But, the Court should deny leave to

amend if doing so “would prejudice the opposing party, reward bad faith on the part of the

moving party, or . . . amount to futility.” MTB Servs., Inc. v. Tuckman-Barbee Constr. Co., No.

RDB-12-2109, 2013 WL 1819944, at *3 (D. Md. Apr. 30, 2013). Notably, for purposes of this

case, “repeated failure to cure deficiencies by amendments previously allowed” also is a reason

to deny leave to amend. Foman, 371 U.S. at 182; Laber v. Harvey, 438 F.3d 404, 426 (4th Cir.

2006).




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  Because I find that Best failed to state a claim under the MCDCA, I need not reach CCS’s
contention that Best’s claim, insofar as it is “premised upon CCS furnishing incorrect credit
information . . . is preempted by the FCRA.” CCS Mem. 7.
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  Best filed his motion before the deadline established in the Scheduling Order entered in this
case, ECF No. 99. Therefore, I will analyze it under Rule 15, rather than Rule 16. See CBX
Techs., Inc. v. GCC Techs., LLC, No. JKB-10-2112, 2012 WL 3038639, at *3 (D. Md. July 24,
2012) (stating that, when the plaintiff moves to amend after the deadline established in the
scheduling order for doing so, Rule 16(b)(4) becomes the starting point in the Court’s analysis).

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          The proposed Third Amended Complaint introduces allegations that Midland Funding

LLC (‘Midland”), “one of the nation’s largest buyers of unpaid debt,” also was “reporting

collection accounts,” including account number 855322, which Best disputed with the CRAs on

October 20, 2014 and with Midland directly on December 1, 2014. Third Am. Compl. ¶¶ 12, 14,

32–33, 35. He claims that between November 14, 2014 and November 18, 2014, Experian (and

the other CRAs) “verified the Midland account #855322 as being reported accurately,” even

though, according to Plaintiff, the account was for a debt that Midland purchased from T-Mobile

PCS Holdings LLC on September 26, 2012; Plaintiff “was never contractually liable on the

account and … he was not legally responsible for the alleged debt”; and Midland admitted to

Best on February 27, 2015 that it “did not have any evidence that Plaintiff had a contract with T-

Mobile.” Id. ¶ 34–42.

          These allegations do not present newly-acquired knowledge that could not have been

discerned previously by Best through the exercise of due diligence. Rather, Best contacted the

CRAs in October 2014, heard from them in November 2014, and contacted Midland in

December 2014 and February 2015. Indeed, he filed suit against Midland on these fact (recited

in part verbatim) in the Circuit Court for Prince George’s County on March 2, 2015. See Bey

Compl. ¶¶ 27–35, ECF No. 2 in Bey, Best & Alston v. Midland Credit Management, Inc. &

Midland Funding LLC, No. GJH-15-1329 (removed to this Court May 8, 2015).11 Thus, Best

clearly could have brought these allegations in his Amended Complaint when he filed it on June

12, 2015, or in his Second Amended Complaint when he filed it on June 19, 2015. Instead, he

did not request leave to file a motion to amend until September 14, 2015 (ECF No. 92), after




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     I take judicial notice of this proceeding pursuant to Fed. R. Evid. 201(b)(2).

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CCS, Experian, and Verizon moved to dismiss on June 29, 2015, August 27, 2015, and August

28, 2015, respectively, and after Equifax filed an answer on July 9, 2015.

       Assuming arguendo that these amendments would not be futile, allowing Best to add

these allegations at this late juncture, months after they could have been introduced in his

Amended or Second Amended Complaint, and after Defendants proposed and briefed their

motions to dismiss, would prejudice Defendants, who would have to respond to new allegations

through revised responsive pleadings. Moreover, the delay and the timing, with the request to

amend following the last two motions to dismiss by only a couple weeks, are inconsistent with

acting in good faith. Therefore, Best’s motion to amend will be denied with regard to the

allegations about Midland. See MTB Servs., 2013 WL 1819944, at *3.

       The latest proposed iteration of the complaint also adds an allegation that “Experian

improperly updated Verizon tradeline” in response to Plaintiff’s disputes. Third Am. Compl. ¶

14(iii). Best claims that, “on March 1, 2015, he again “disputed the Verizon collection account,”

this time “via the CRAs online dispute system.” Id. ¶ 27. According to Best, Verizon now

“reported the account as #150837960****,” not 979200****. Id. He alleges that, “[u]pon

information and belief, the CRAs forwarded the dispute to Verizon for an investigation of the

account.” Id. Best claims that “Experian verified the Verizon account #150837960**** as

being reported accurately.” Id. ¶ 28.

       These allegations do not buttress Best’s claim that Verizon failed to delete or modify its

account following an investigation that should have prompted it to do so, as it is not clear that

account 150837960**** is the same as 979200****, or that Verizon should have deleted or

modified either account. See 15 U.S.C. § 1681s-2(b)(1)(E) (requiring modification “if an item of

information disputed by a customer is found to be inaccurate” (emphasis added)). Nor do they


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substantiate Best’s claims regarding the CRAs’ treatment of the Verizon and CCS accounts or

that CCS attempted to collect on a debt incurred primarily for personal, business or household

purposes. Therefore, as amended, the claims still would be subject to dismissal.

       With regard to these additional proposed amendments, Best’s motion to amend and his

request for leave to amend presented in his opposition to CCS’s motion to dismiss are denied as

futile. Further, because amendment would be futile, and given that I warned Plaintiff that any

dismissal after he amended would be with prejudice, I will dismiss these claims with prejudice.

See Weigel v. Maryland, 950 F. Supp. 2d 811, 825–26 (D. Md. 2013) (district court has

discretion to dismiss with or without prejudice, although “dismissal with prejudice is proper if

there is no set of facts the plaintiff could present to support his claim”); see also McLean v.

United States, 566 F.3d 391, 400–01 (4th Cir. 2009) (dismissal with prejudice “is entirely proper

when the court has reviewed the claim and found it to be substantively meritless,” as “[o]nce a

court has determined that the complaint is truly unamendable, a dismissal without prejudice is of

little benefit to the litigant, as the claim cannot be made viable through reformulation”); Adams

v. Sw. Va. Reg’l Jail Auth., 524 F. App’x 899, 900, 2013 WL 1943798, at *1 (4th Cir. 2013)

(dismissal should be without prejudice is plaintiff has not had opportunity to amend to cure

deficiencies).

                                          Conclusion

       In sum, Plaintiff has failed to state a claim under the FDCPA or MCDCA. I will grant

CCS’s motion and dismiss Best’s claims against it. Also, Plaintiff has failed to state an FCRA

claim against Experian or Verizon. I will treat Verizon’s motion as a motion to dismiss and

grant it, and I will grant Experian’s motion. I will dismiss Best’s claims against Experian and

Verizon as well. Further, I will deny Best’s motion to amend. Because Plaintiff had the


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opportunity to amend to cure the deficiencies in his pleadings and failed to do so in the Second

Amended Complaint or in the proposed Third Amended Complaint, this dismissal will be with

prejudice.

                                           ORDER

       Accordingly, it is, this 23rd day of March, 2016, hereby ORDERED that

       1. Defendant Credit Control Services, Inc.’s Motion to Dismiss, ECF No. 71, IS
GRANTED;

       2. Defendant Experian Information Solutions, Inc.’s Motion to Dismiss, ECF No. 88, IS
GRANTED;

       3. Defendant Verizon Maryland LLC’s Motion to Dismiss and/or for Summary
Judgment and/or Motion to Compel Arbitration, or, in the Alternative, Motion to Dismiss and/or
for Summary Judgment Based on Improper Venue, ECF No. 89, treated as a motion to dismiss,
IS GRANTED;

       4. Plaintiff’s Amended Motion for Leave to File a Third Amended Complaint, ECF No.
111, IS DENIED;

       5. Plaintiff’s Motion for Leave to File a Third Amended Complaint, ECF No. 110, IS
DENIED AS MOOT in light of Plaintiff’s Amended Motion;

       6. Plaintiff’s FCRA claim as to Experian and Verizon, and the entirety of Plaintiff’s
FDCPA and MCDCA claims ARE DISMISSED WITH PREJUDICE;

       7. This case will continue as to Equifax only, and I will schedule a Rule 16 conference
to discuss pretrial proceedings; and

       8. The Clerk SHALL MAIL a copy of this Memorandum Opinion and Order to Plaintiff.

                                                                  /S/
                                                           Paul W. Grimm
                                                           United States District Judge




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